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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                     CRIMINAL ACTION
v.                                          )
                                            )                     No. 12-20083-32-KHV
DAMIEN L. MICK,                             )
                                            )
                         Defendants.        )
____________________________________________)

                               MEMORANDUM AND ORDER

       This matter is before the Court on the government’s Motion For Review Of Release

(Doc. #358) filed August 7, 2012. On August 21, 2012, the Court held a hearing on the motion. For

reasons stated below, the Court finds that defendant should be released on conditions pending trial.

                                    Procedural Background

       A grand jury charged Damien Mick and some 34 other defendants with conspiracy to possess

with intent to distribute and to distribute five kilograms or more of a mixture and substance

containing cocaine and 1,000 kilograms or more of marijuana, and with conspiracy to maintain

drug-involved premises in Kansas, Missouri, and California. Sealed Indictment (Doc. # 192) filed

July 11, 2012, Count 1. It also charged defendant with two counts of maintaining a premise to store

and distribute marijuana. See id., Counts 62, 94. Under 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(ii) and

(b)(1)(A)(iii), the conspiracy charged in Count 1 carries a statutory mandatory minimum term of

imprisonment of ten years and a maximum term of life, with a presumption of detention. See 18

U.S.C. § 3142(e)(3)(A).

       On August 7, 2012, United States Magistrate Judge James P. O’Hara ordered defendant

released on certain conditions. The government seeks review of the release order.
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                                        Standard Of Review

       The government may seek review of a magistrate judge’s order of release. See 18 U.S.C.

§ 3145(a)(1). The district court reviews de novo a magistrate’s order of release. See United States

v. Cisneros, 328 F.3d 610, 616 n.1 (10th Cir. 2003). The district court must make its own de novo

determination of the facts and legal conclusions with no deference to the magistrate judge’s findings.

See United States v. Lutz, 207 F. Supp.2d 1247, 1251 (D. Kan. 2002). A de novo evidentiary

hearing, however, is not required. See id. The district court may either “start from scratch” and take

relevant evidence or incorporate the record of the proceedings conducted by the magistrate judge

including the exhibits admitted. United States v. Dozal, No. 09-20005-08/12/24-KHV, 2009 WL

873011, at *1 (D. Kan. March 27, 2009) (citing United States v. Torres, 929 F.2d 291, 292 (7th Cir.

1991)). The Federal Rules of Evidence do not apply to detention hearings. See 18 U.S.C. § 3142(f);

Fed. R. Evid. 1101(d)(3). The Court may allow the parties to present information by proffer or it

may insist on direct testimony. See 18 U.S.C. § 3142(f).

                                     Standards For Detention

       Under the Bail Reform Act of 1984, the Court must order an accused’s pretrial release, with

or without conditions, unless it “finds that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(e). In making this determination, the Court must take into account

the available information concerning –

           (1) the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence . . . or involves a minor victim or a controlled substance,
       firearm, explosive, or destructive device;
           (2) the weight of the evidence against the person;
           (3) the history and characteristics of the person, including –

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               (A) the person’s character, physical and mental condition, family ties,
       employment, financial resources, length of residence in the community, community
       ties, past conduct, history relating to drug or alcohol abuse, criminal history, and
       record concerning appearance at court proceedings; and
               (B) whether, at the time of the current offense or arrest, the person was on
       probation, on parole, or on other release pending trial, sentencing, appeal, or
       completion of sentence for an offense under Federal, State, or local law; and
           (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release.

18 U.S.C. § 3142(g).

       The Bail Reform Act provides a rebuttable presumption of risk of flight or danger to the

community when a defendant is charged with an offense for which the Controlled Substances Act,

21 U.S.C. § 801 et seq., prescribes a maximum prison term of ten years or more. See 18 U.S.C.

§ 3142(e); see also United States v. Stricklin, 932 F.2d 1353, 1354 (10th Cir. 1991) (upon finding

of probable cause that defendant committed federal drug offense carrying maximum prison term of

ten years or more, rebuttable presumption that no conditions of release will assure defendant’s

appearance and safety of community). The complaint charges defendants with conspiracy to

distribute and possess with intent to distribute 1,000 kilograms or more of marijuana.

Section 841(b)(1)(A) of the Controlled Substances Act imposes a minimum of 10 years and a

maximum of life in prison for offenses involving 1,000 kilograms or more of marijuana, thereby

triggering the rebuttable presumption for detention. United States v. Quartermaine, 913 F.2d 910,

916 (11th Cir. 1990) (grand jury indictment provides probable cause required by statute to trigger

presumption); see United States v. Carr, No. 07-40034-JAR, 2007 WL 2253200, at *6 (D. Kan.

July 31, 2007).

       Once the presumption arises, the burden of production shifts to defendant. Stricklin, 932 F.2d

at 1354. Defendant’s burden of production is not heavy, but defendant must produce some evidence.

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Id.; United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986) (to rebut presumption, defendant

must come forward with credible evidence of something specific about charged criminal conduct or

individual circumstances that tends to show that what is true in general is not true in particular case).

Even if defendant meets the burden of production, the presumption remains a factor in determining

whether to release or detain. Stricklin, 932 F.2d at 1354. “Thus the mere production of evidence

does not completely rebut the presumption, and in making its ultimate determination, the court may

still consider the finding by Congress that drug offenders pose a special risk of flight and

dangerousness to society.” United States v. Holmes, No. 05-40066-01-SAC, 2007 WL 293907, at

*2 (D. Kan. Jan. 29, 2007) (quoting United States v. Hare, 837 F.2d 796, 798-99 (5th Cir. 1989))

(footnote omitted). The burden of proof remains with the government to show that no condition or

combination of conditions would reasonably assure the accused’s presence in later proceedings and/or

the safety of other persons and the community. Lutz, 207 F. Supp.2d at 1251 (burden of persuasion

regarding risk of flight and danger to community always remains with government). The government

must prove dangerousness to any other person or the community by clear and convincing evidence.

Id. at 1252.

                                               Analysis

        The Court takes judicial notice of and incorporates the Pretrial Services Report for defendant

and the record of the proceedings conducted by the magistrate judge.

I.      Nature And Circumstances Of The Offense

        As noted, because defendant is charged with a drug conspiracy which carries a minimum term

of 10 years in prison, a rebuttable presumption of detention is triggered. This factor favors detention.




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II.    Weight Of The Evidence

       The evidence outlined by the government, which defendant largely does not dispute, suggests

that the government has strong evidence that defendant was a participant in the alleged conspiracy.

This factor favors detention.

III.   History And Characteristics Of Defendant

       Defendant has lived in the Kansas City metropolitan area for some 11 years. Defendant

currently resides with his wife and three children, ages 15, 8 and 6.

       Defendant has a criminal record. In 2001, he was convicted of vehicular homicide and

improper passing related to a motorcycle accident in July of 1999, when defendant was 20 years old.

Defendant, who was driving the motorcycle, suffered severe injuries and his friend, who was a

passenger on the motorcycle, died from injuries sustained in the accident. In November of 2004,

defendant was convicted of the sale of depressants, hallucinogens, stimulants and anabolic steroids.

Defendant received a suspended sentenced of 18 months in prison and was granted two years

probation. Since November of 2004, defendant has no criminal record.

       Defendant’s strong family ties to Kansas suggest that he is not a flight risk. The Court is

concerned that defendant has a clear substance abuse issue, but his history suggests that he would

likely follow conditions of pretrial release. On balance, this factor favors release.

IV.    Danger To The Community

       Before releasing defendant on any set of conditions, the Court must be satisfied that defendant

will not pose a danger to any other person or to the community. See 18 U.S.C. § 3142(b). The

government has not shown by clear and convincing evidence that defendant would pose a risk of

physical danger to the community. With the conditions outlined by the magistrate judge, the Court

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finds that defendant is not a danger to the community. Cf. United States v. Pina-Aboite, 97 Fed.

Appx. 832, 836 (10th Cir. 2004) (risk that defendant will continue to engage in drug trafficking

constitutes danger to community).

V.     Conclusion

       Based upon the indictment, the record before the magistrate judge and the evidence proffered

at the hearing on August 21, 2012, the Court concludes that defendant has rebutted the presumption

that no conditions of release which will ensure the safety of the community. From the record, it

appears that a combination of conditions of release would reasonably assure defendant’s presence at

later proceedings and the safety of other persons and the community.

       IT IS THEREFORE ORDERED that the government’s Motion For Review Of Release

(Doc. #358) filed August 7, 2012 be and hereby is OVERRULED. Damien Mick shall be released

pending trial on the conditions set forth in the Order Setting Conditions Of Release (Doc. #361) filed

August 7, 2012.

       Dated this 23rd day of August, 2012 at Kansas City, Kansas.

                                                       s/ Beth Phillips
                                                       BETH PHILLIPS
                                                       United States District Judge




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